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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                     *

v.                                           *           Criminal No. GLR-17-0480

JULIET LUO                                   *

*      *       *      *       *       *      *       *       *      *         *    *       *     *

                   UNOPPOSED REQUEST FOR RETURN OF PASSPORT

       Juliet Luo respectfully moves this Court for an Order directing the Clerk of the Court or

U.S. Probation and Pretrial Services to release Ms. Luo’s passport to her custody. Assistant United

States Attorney Michael Cunningham has no objection to this request. In support of this request,

undersigned counsel states as follows:

       1.      The Court’s order of April 3, 2018, setting conditions of pretrial release ordered

Ms. Luo to surrender her passport, although it also noted that the passport was in the Government’s

custody, having been seized at the time of her arrest. ECF No. 68 ¶ (8)(h).

       2.      Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), on March 25, 2022,

Ms. Luo pled guilty to a one-count superseding information, charging her with aiding and abetting

in the making of false statements within the visa application of another, in violation of 18 U.S.C.

§§ 2 and 1546(a). The Court sentenced Ms. Luo to time served followed by six months of

supervised release with the special condition that she serve six months of home confinement with

approval to work and engage in work-related travel. ECF No. 165.

       3.      Now that Ms. Luo’s case is resolved, the Government is going to turn over Ms.

Luo’s passport to U.S. Probation and Pretrial Services so that it can be returned to Ms. Luo.
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Assistant United States Attorney Michael Cunningham has authorized me to state that he does not

oppose the Court authorizing the return of Ms. Luo’s passport to her.

       4.      Because surrender of the passport was a condition of pretrial release, whomever

has the passport may require a court order before returning it to Ms. Luo. Accordingly, Ms. Luo

asks the Court to issue an order authorizing the Clerk of Court or U.S. Probation and Pretrial

Services to return Ms. Luo’s passport to her.

       WHEREFORE, Ms. Luo asks the Court to issue the attached order authorizing the Clerk

of Court or U.S. Probation and Pretrial Services to return Ms. Luo’s passport to her.


                                                Respectfully submitted,

                                                James Wyda
                                                Federal Public Defender for the District of Maryland



                                                _____/s/                             ____________
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